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          and all others similarly situated

                                 UNITED STATES DISTRICT COURT
                                    DISTRICT OF NEW JERSEY


          MARK A. APOSTOLOU, an
          individual, on behalf of himself and all
          others similarly situated,

                        Plaintiff,
                                                             Case No. _________________
                 vs.

          GLOBAL CREDIT & COLLECTION
                                                           CLASS ACTION COMPLAINT
          CORPORATION, a Delaware
          Corporation; and JOHN AND JANE
          DOES NUMBERS 1 THROUGH 25,

                        Defendants.


                 Plaintiff, Mark A. Apostolou (“APOSTOLOU”), on behalf of himself and all

          others similarly situated, by way of Complaint against the Defendants, say:

                                                  I. PARTIES

                 1.     APOSTOLOU is a natural person.

                 2.     At all times relevant to this complaint, APOSTOLOU was a citizen

          of, and resided in, the Township of Livingston, Essex County, New Jersey.

                 3.     At all times relevant to this complaint, GLOBAL CREDIT &
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          COLLECTION        CORPORATION          (“GLOBAL       CREDIT”)      is   a   for-profit

          corporation existing pursuant to the laws of the State of Delaware. GLOBAL

          CREDIT maintains its principal business address at 300 International Drive, Suite

          100, Village of Williamsville, Erie County, New York.

                4.     Defendants, JOHN AND JANE DOES NUMBERS 1 THROUGH 25,

          are sued under fictitious names as their true names and capacities are yet unknown

          to Plaintiff. Plaintiff will amend this complaint by inserting the true names and

          capacities of these DOE defendants once they are ascertained.

                5.     Plaintiff is informed and believes, and on that basis alleges, that

          Defendants, JOHN AND JANE DOES NUMBERS 1 THROUGH 25, are natural

          persons and/or business entities all of whom reside or are located within the United

          States who personally created, instituted and, with knowledge that such practices

          were contrary to law, acted consistent with and oversaw policies and procedures

          used by the employees of GLOBAL CREDIT that are the subject of this complaint.

          Those Defendants personally control the illegal acts, policies, and practices utilized

          by GLOBAL CREDIT and, therefore, are personally liable for all of the

          wrongdoing alleged in this Complaint.

                                   II. JURISDICTION & VENUE

                6.     Jurisdiction of this Court arises under 15 U.S.C. § 1692k(d) and 28

          U.S.C. § 1331.

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                7.     Declaratory relief is available pursuant to 28 U.S.C. §§2201 and 2202.

                8.     Venue is appropriate in this federal district pursuant to 28 U.S.C.

          §1391 because the events giving rise to APOSTOLOU’s claims occurred within

          this federal judicial district, and because the Defendants reside in the State of New

          Jersey within the meaning of 28 U.S.C. § 1391(b) and (c).

                                 III. PRELIMINARY STATEMENT

                9.     Plaintiff, on his own behalf and on behalf of the class he seeks to

          represent, brings this action for the illegal practices of the Defendants who used

          false, deceptive and misleading practices, and other illegal practices, in connection

          with their attempts to collect alleged debts from Plaintiff and others. Plaintiff

          alleges that the Defendants’ collection practices violate, inter alia, the Fair Debt

          Collection Practices Act, 15 U.S.C. §§ 1692 et seq. (“FDCPA”).

                10.    Such practices include, inter alia:

                (a)    Leaving telephonic voice messages for consumers, which fail to

                       provide meaningful disclosure of Defendants’ identity;

                (b)    Leaving telephonic voice messages for consumers, which fail to

                       disclose that the call is from a debt collector; and

                (c)    Leaving telephonic voice messages for consumers, which fail to

                       disclose the purpose or nature of the communication (i.e., an attempt

                       to collect a debt).

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                11.   The FDCPA regulates the behavior of collection agencies attempting

          to collect a debt on behalf of another. The United States Congress has found

          abundant evidence of the use of abusive, deceptive, and unfair debt collection

          practices by many debt collectors, and has determined that abusive debt collection

          practices contribute to a number of personal bankruptcies, marital instability, loss

          of jobs, and invasions of individual privacy. Congress enacted the FDCPA to

          eliminate abusive debt collection practices by debt collectors, to ensure that those

          debt collectors who refrain from using abusive debt collection practices are not

          competitively disadvantaged, and to promote uniform State action to protect

          consumers against debt collection abuses. 15 U.S.C. § 1692(a) - (e).

                12.   The FDCPA is a strict liability statute, which provides for actual or

          statutory damages upon the showing of one violation. The Third Circuit has held

          that whether a debt collector’s conduct violates the FDCPA should be judged from

          the standpoint of the “least sophisticated consumer.” Graziano v. Harrison, 950

          F.2d 107, 111, fn5 (3d Cir. 1991).

                13.   To prohibit harassment and abuse by debt collectors the FDCPA, at 15

          U.S.C. §1692d, provides that a debt collector may not engage in any conduct the

          natural consequence of which is to harass, oppress, or abuse any person in

          connection with the collection of a debt and enumerates a non-exhaustive list of

          such conduct which is deemed to violate that section. 15 U.S.C. §1692d(1)-(6). In

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          that list is the placement of telephone calls without meaningful disclosure of the

          caller’s identity. 15 U.S.C. §1692d(6).

                14.     To prohibit deceptive practices, the FDCPA, at 15 U.S.C. §1692e,

          provides that a debt collector may not use any false, deceptive, or misleading

          representation or means in connection with the collection of any debt and

          enumerates a acts and omissions which are deemed to violate that section. 15

          U.S.C. §1692e(1)-(16). In that list is the failure by debt collectors to disclose, in

          initial oral communications, that the debt collector is attempting to collect a debt

          and that any information obtained will be used for that purpose and, in subsequent

          communications, that the communication is from a debt collector. 15 U.S.C.

          §1692e(11).

                15.     The Plaintiff, on behalf of himself and all others similarly situated,

          seeks certification of this action as a class action, statutory damages, attorney fees

          and costs pursuant to the FDCPA, declaratory judgment and all other relief,

          equitable or legal in nature, as deemed appropriate by this Court.

                                              IV. FACTS

                16.     Sometime prior to December 22, 2008, APOSTOLOU allegedly

          incurred a financial obligation (“Apostolou Obligation”).

                17.     APOSTOLOU is unaware of the identity of the creditor or the basis

          for the Apostolou Obligation.

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                18.    To the best of APOSTOLOU’s recollection, he has never incurred a

          financial obligation except one which arose out of one or more transactions in

          which the money, property, insurance, or services which are the subject of the

          transactions are primarily for personal, family, or household purposes.

                19.    Defendants contend that the Apostolou Obligation is in default.

                20.    The Apostolou Obligation is a “debt” as defined by 15 U.S.C.

          §1692a(5).

                21.    APOSTOLOU is, at all times relevant to this complaint, a “consumer”

          as that term is defined by 15 U.S.C. § 1692a(3).

                22.    APOSTOLOU is informed and believes, and on that basis alleges, that

          sometime prior to November 2008, the creditor of the Apostolou Obligation either

          directly or through intermediate transactions assigned, placed, transferred, or sold

          the debt to GLOBAL CREDIT for collection.

                23.    To date, APOSTOLOU has not received any written communications

          from GLOBAL CREDIT.

                24.    On at least the date of December 22, 2008, GLOBAL CREDIT left

          APOSTOLOU the following pre-recorded message on his cellular telephone

          voicemail system (“Message”):

                       Federal law prevents me from leaving more detailed
                       information on the voice recording. Please call 1-866-350-7727
                       or press “1” for English.

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                  25.   The telephone number 866-350-7727 is answered by GLOBAL

          CREDIT.

                  26.   GLOBAL CREDIT collects, and attempts to collect, debts incurred, or

          alleged to have been incurred, for personal, family, or household purposes on

          behalf of creditors using the U.S. Mail, telephone, and Internet.

                  27.   GLOBAL CREDIT is a “debt collector” as defined by 15 U.S.C. §

          1692a(6).

                  28.   Within the one year immediately preceding the filing of this

          complaint, GLOBAL CREDIT contacted Plaintiff via telephone in an attempt to

          collect the Apostolou Obligation.

                  29.   Within the one year immediately preceding the filing of this

          complaint, Plaintiff received a Message left on his answering machine or voice

          mail.

                  30.   The Message was left by persons employed by GLOBAL CREDIT as

          a “debt collector” as defined by 15 U.S.C. § 1692a(6).

                  31.   The Message was left in connection with the collection of a “debt” as

          defined by 15 U.S.C. § 1692a(5).

                  32.   The Message conveyed information regarding a debt directly or

          indirectly to APOSTOLOU.

                  33.   The Message is a “communication” as defined by 15 U.S.C. §

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          1692a(2).

                    34.   The Message failed to provide meaningful disclosure of GLOBAL

          CREDIT’s identity as the caller.

                    35.   The Message failed to identify GLOBAL CREDIT by its name as the

          caller.

                    36.   The Message failed to disclose the purpose or nature of the

          communication (i.e., an attempt to collect a debt).

                    37.   The Message failed to disclose that the communication was from a

          debt collector.

                    38.   GLOBAL CREDIT’s act of leaving the Message for Plaintiff is

          conduct the natural consequences of which is to harass, oppress, or abuse a person

          in connection with the collection of a debt and is in violation of the FDCPA.

                    39.   GLOBAL CREDIT’s act of leaving the Messages for Plaintiff

          constitutes the use of a false, deceptive, or misleading representation or means in

          connection with the collection of any debt and is in violation of the FDCPA.

                    40.   The FDCPA secures the consumer’s right to have a debt collector

          cease further communications with the consumer. By failing to meaningfully

          identify itself, disclose the purpose of its call and that GLOBAL CREDIT is a debt

          collector in a manner understandable to the least sophisticated consumer,

          GLOBAL CREDIT has engaged in conduct designed to deprive consumers of their

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          right to have a debt collector cease further communications.

                       V. POLICIES AND PRACTICES COMPLAINED OF

                41.    It is GLOBAL CREDIT’s policy and/or practice to leave telephonic

          voice messages for consumers and other persons, such as the Messages, that

          uniformly:

                (a)    Failed to provide meaningful disclosure of GLOBAL CREDIT’s

                       identity as the caller;

                (b)    Failed to disclose the purpose or nature of the communication (i.e., an

                       attempt to collect a debt); and

                (c)    Failed to disclose that the communication was from a debt collector.

                42.    On information and belief, GLOBAL CREDIT left messages on more

          than 50 consumers’ telephone answering devices which are the same as or

          substantially the same as the Message in that it failed to provide meaningful

          disclosure of GLOBAL CREDIT’s identity as the caller, to disclose the purpose or

          nature of the communication (i.e., an attempt to collect a debt), and to disclose that

          the communication was from a debt collector.

                                      VI. CLASS ALLEGATIONS

                43.    Plaintiff brings this action on behalf of himself and all other persons

          similarly situated pursuant to Rule 23 of the Federal Rules of Civil Procedure and

          seeks to certify this action as a class action.

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                44.    The Class consists of all persons with telephone numbers in the 973

          area code for whom Defendants (or any of them), while seeking payment of a debt,

          left a Message by dialing that telephone number within the Time Period.

          “Message” means a voice recording placed on a class member’s answering

          machine or voicemail by Defendants (or any of them) while attempting to collect a

          debt which did not disclose either GLOBAL CREDIT’s identity as the caller, the

          purpose or nature of the communication (i.e., an attempt to collect a debt), or that

          the Message was being left by a debt collector. “Time Period” means the

          continuous period of time beginning on the earliest date which is within one year

          prior to the filing of this Complaint and ending on the twentieth day after service of

          the Summons and Complaint. Plaintiff may seek to include all such persons but

          with telephone numbers in any area code assigned to any part of the State of New

          Jersey.

                43.    The identities of all class members are ascertainable from the records

          of GLOBAL CREDIT and those companies and governmental entities on whose

          behalf GLOBAL CREDIT attempts to collects debts.

                44.    Excluded from the Class are the Defendants and all officers, members,

          partners, managers, directors, and employees of GLOBAL CREDIT, Defendants,

          and their respective immediate families, and legal counsel for all parties to this

          action and all members of their immediate families.

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                45.    There are questions of law and fact common to the Class. Those

          principal issues are whether the Defendants’ telephonic voice messages, such as

          the Messages, violate 15 U.S.C. §§ 1692d(6) and 1692e(11).

                46.    Plaintiff’s claims are typical of the class members, as all are based

          upon the same facts and legal theories.

                47.    Plaintiff will fairly and adequately protect the interests of the Plaintiff

          Classes defined in this complaint. Plaintiff has retained counsel with experience in

          handling consumer lawsuits, complex legal issues, and class actions, and neither

          Plaintiff nor his attorney has any interests, which might cause them not to

          vigorously pursue this action.

                48.    This action has been brought, and may properly be maintained, as a

          class action pursuant to the provisions of Rule 23 of the Federal Rules of Civil

          Procedure because there is a well-defined community interest in the litigation:

                (a)    Numerosity: Plaintiff is informed and believes, and on that basis

                       alleges, that the Class defined above is so numerous that joinder of all

                       members would be impractical.

                (b)    Common Questions Predominate: Common questions of law and

                       fact exist as to all members of the Class and those questions

                       predominate over any questions or issues involving only individual

                       class members. The principal issues are whether the Defendants’

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                      telephonic voice messages, such as the Messages, violate 15 U.S.C.

                      §§1692d(6) and 1692e(11).

                (c)   Typicality: Plaintiff’s claims are typical of the claims of the class

                      members. Plaintiff and all members of the Class have claims arising

                      out of the Defendants’ common uniform course of conduct

                      complained of herein.

                (d)   Adequacy: Plaintiff will fairly and adequately protect the interests of

                      the class members insofar as Plaintiff has no interests that are adverse

                      to the absent class members. Plaintiff is committed to vigorously

                      litigating this matter. Plaintiff has also retained counsel experienced in

                      handling consumer lawsuits, complex legal issues, and class actions.

                      Neither Plaintiff nor his counsel has any interests which might cause

                      them not to vigorously pursue the instant class action lawsuit.

                (e)   Superiority: A class action is superior to the other available means

                      for the fair and efficient adjudication of this controversy because

                      individual joinder of all members would be impracticable. Class

                      action treatment will permit a large number of similarly situated

                      persons to prosecute their common claims in a single forum efficiently

                      and without unnecessary duplication of effort and expense that

                      individual actions would engender. An important public interest will

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                       be served by addressing the matter as a class action, substantial

                       expenses to the litigants and to the judicial system will be realized,

                       and the potential inconsistent or contradictory adjudications will be

                       avoided as contemplated by Rule 23(b)(1) of the Federal Rules of

                       Civil Procedure.

                79.    Certification of the Class under Rule 23(b)(1)(A) of the Federal Rules

          of Civil Procedure is appropriate because adjudications with respect to individual

          members create a risk of inconsistent or varying adjudications which could

          establish incompatible standards of conduct for Defendants, which, on information

          and belief, collect debts throughout the United States of America.

                80.    Certification of the Class under Rule 23(b)(2) of the Federal Rules of

          Civil Procedure is also appropriate in that a determination that the Messages

          violate 15 U.S.C. §1692d(6) and/or §1692e(11) is tantamount to declaratory relief

          and the additional damages allowable under the FDCPA would be merely

          incidental to that determination.

                81.    Certification of each Plaintiff Class under Rule 23(b)(3) of the Federal

          Rules of Civil Procedure is also appropriate in that the questions of law and fact

          common to members of the Class predominate over any questions affecting an

          individual member, and a class action is superior to other available methods for the

          fair and efficient adjudication of the controversy.

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                82.    Plaintiff may seek certification only as to particular issues as

          permitted under Fed.R.Civ.P. 23(c)(4).

                           VII. FIRST CAUSE OF ACTION
             VIOLATIONS OF THE FAIR DEBT COLLECTION PRACTICES ACT
                           (AGAINST ALL DEFENDANTS)

                83.    Plaintiff realleges and incorporates by reference the allegations in the

          preceding paragraphs of this Complaint.

                84.    Defendants violated the FDCPA. Defendants’ violations with respect

          to the Message include, but are not limited to, the following:

                (a)    Placing a telephone call without providing meaningful disclosure of

                       GLOBAL CREDIT’s identity as the caller in violation of 15 U.S.C. §

                       1692d(6);

                (b)    Failing to state the nature or purpose of the call in violation of 15

                       U.S.C. § 1692d(6);

                (c)    Failing to disclose in its initial communication with the consumer that

                       GLOBAL CREDIT is attempting to collect a debt and that any

                       information obtained will be used for that purpose, which constitutes a

                       violation of 15 U.S.C. § 1692e(11); and

                (d)    Failing to disclose in all oral communications that GLOBAL CREDIT

                       is a debt collector in violation of 15 U.S.C. § 1692e(11).




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                                   VIII. PRAYER FOR RELIEF

                85.    WHEREFORE, Plaintiff respectfully requests that the Court enter

          judgment in his favor and in favor of the Class as follows:

                A.     An order certifying that the First Cause of Action or, in the

                       alternative, particular issues within the First Cause of Action, may be

                       maintained as a class pursuant to Rule 23 of the Federal Rules of Civil

                       Procedure and appointing Plaintiff and the undersigned counsel to

                       represent the Class.

                B.     An award of the maximum “additional damages” for Plaintiff and the

                       Class pursuant to 15 U.S.C. § 1692k(a)(2)(B);

                C.     Declaratory relief adjudicating that the Defendants’ telephone

                       Messages violate the FDCPA pursuant to 28 U.S.C. §§ 2201, 2202;

                D.     Attorney’s fees, litigation expenses, and costs pursuant to 15 U.S.C. §

                       1692k(a)(B)(3); and

                E.     For such other and further relief as may be just and proper.

                                              PHILIP D. STERN & ASSOCIATES, LLC
                                                             /s/ Philip D. Stern
          Dated: December 21, 2009                           PHILIP D. STERN
                                              Attorneys for Plaintiff, Mark A. Apostolou, and
                                                        all others similarly situated




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